                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA,
       Plaintiff,

                                                             Case No. 24-CR-00198-SRB

DELEON REED,
      Defendant.


                             MOTION TO CONTINUE TRIAL



        COMES NOW defendant Deleon Reed, by and through counsel, Laura E. O'Sullivan, and

 respectfully requests this Court to continue the trial of this matter currently set for January 6,

 2025, to the June 2, 2025, trial docket. Mr. Reed offers the following in support:

1.     On September 10, 2024, an Indictment was filed charging Mr. Reed. Mr. Reed is

       charged with one count of felon in possession of a firearm, in violation of 18 U.S.C. §§


       922(g)(1) and 924(a)(8), and one count of possession of a machinegun in violation of 18

       U.S.C. §§ 922(o) and 924(a)(2). (Doc. 1).


2.     Mr. Reed was already detained as a result of supervised release violation allegations in

       18-CR-00038. Mr. Reed remains in custody in both matters.

3.     The Court appointed undersigned counsel in this matter on September 11, 2024. (Doc.

       3)

4.     On September 18, 2024, Mr. Reed appeared before United States Magistrate Judge

       Lajuana M. Counts for his arraignment and detention hearing. The Court granted the




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     government’s motion for pretrial detention finding Mr. Reed ineligible for release on


     bail. Mr. Reed was remanded to the custody of the U.S. Marshal. The case was

     originally set to commence on the joint criminal jury trial docket of October 21, 2024.

     Undersigned counsel orally requested a continuance, and the Court set this matter on the

     joint criminal jury trial docket commencing January 6, 2025. (Doc. 5).

5.   On October 9, 2024, counsel received the first discovery disclosure of 1.59 GBs. On

     October 21, 2024, counsel received about 4.83 GBs in a supplemental discovery

     disclosure in this matter.

6.   Mr. Reed and undersigned counsel require additional time to review the discovery,

     adequately investigate and prepare for trial, or seek other resolution. The defense

     cannot reasonably be ready for trial by January 6, 2025.

7.   Undersigned counsel contacted Ashleigh Ragner, Assistant United States Attorney, and

     she does not object to a continuance.

8.   On November 15, 2024, Mr. Reed was advised of his Speedy Trial rights and consented

     to this continuance request.

9.   This continuance is not sought for the purpose of dilatory delay but is sought in truth and

     fact that Mr. Reed may be afforded due process of law under the Fifth Amendment to

     the United States Constitution and afforded effective assistance of counsel under the

     Sixth Amendment to the United States Constitution. In accordance with 18 U.S.C. §§


     3161(h)(7)(A) and (B)(iv), it is submitted that the above stated reasons for a continuance

     outweigh the best interest of the public and the defendant to a speedy trial, which is



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       required by 18 U.S.C. § 3161(c)(1).


10.    Under the provisions of 18 U.S.C. § 3161(h)(8)(A), the period of time until the next


       criminal trial docket should be excluded in computing the period of time in which the

       defendant should be brought to trial under the provisions of the Speedy Trial Act.

        WHEREFORE Mr. Reed respectfully requests this Court to remove this case from the

 January 6, 2025, trial docket, and to continue this case to the June 2, 2025, trial docket, and for

 such other relief this Court deems just and proper.


                                       Respectfully Submitted,

                                       SANDAGE LAW, LLC.

                                       /s/ Laura O'Sullivan
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                                       Attorney for Defendant


                                CERTIFICATE OF SERVICE

        On November 21, 2024, I served this document by depositing an electronic copy of it in
 the Court’s CM/ECF system, which shall distribute notice to all attorneys of record.


                                                  /s/ Laura O'Sullivan
                                                  Laura O'Sullivan




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